     Case 1:06-cr-00038-MP-AK          Document 199       Filed 10/23/07     Page 1 of 1


                                                                                       Page 1 of 1


                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:06-cr-00038-MP-AK

ALAN JESSE CROSSLEY,

      Defendant.
___________________________/

                                         ORDER

       This matter is before the Court on Doc. 196, Motion to Continue by Alan Jesse Crossley.

The motion is granted, and sentencing is hereby reset for November 29, 2007, at 10:30 a.m.



       DONE AND ORDERED this 23rd day of October, 2007


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
